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       In the United States Court of Federal Claims
                                        No. 16-840C
                                   (Filed: April 10, 2019)


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BITMANAGEMENT SOFTWARE                        *
GMBH,                                         *
                                              *
                      Plaintiff,              *
                                              *
              v.                              *
                                              *
THE UNITED STATES,                            *
                                              *
                      Defendant.              *
                                              *
************************************

                                         ORDER

       Trial will take place from Monday, April 22, 2019 to Friday, April 26, 2019, and
Monday, April 29, 2019 to Tuesday, April 30, 2019, in Courtroom #6 of the U.S. Court
of Federal Claims, 717 Madison Place, NW, Washington, DC. Proceedings will
commence at 10:00 a.m. each day.

       IT IS SO ORDERED.


                                                             s/ Edward J. Damich
                                                             EDWARD J. DAMICH
                                                             Senior Judge
